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AO 9| (Rev, ll/l |)Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the
Northem District of New York

UNITED STATES OF AMERICA )
v. )
) CaseNo.§il<:{-YY\\}~HOS (HTB>
ADAM MALKIN, )
aka “Jamos May”, aka “Eric Johnson”, )
aka “Erik Johnson” )
)
Defendant(s) )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On
or about the date(s) of on or about January 2017 through July 2018 in the county ofOneida in the Northem District

of New York the defendant(s) violated:

Code Section Offense Description
Title 21, United States Code, Sections Conspiracy to Possess with lntent to Distribute 100 kilograms or
84l(a)(l), (b)(l)(B), and 846 more of marijuana, a Schedule l controlled substance

This criminal complaint is based on these facts:
See Attachment

E Continued on the attached sheet.
A'/M

Compla /mt 's signature
Anthon Hart, SA DEA

 

Prt`nted name and title
Swom to before me and signed in my presence.

 

Date: July 19, 2018

 

 

 

Judge '.i signature

City and State: Syracuse, NY Hon. Andrew T. Baxter, U.S. Magistrate Judge

 

Prt'ntea' name and title

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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF NEW YORK

AFFIDA WTIN SUPPORT OF
A CRIMINAL COMPLAINT

A. Background

I, Anthony Hart, having been duly swom, do hereby state and depose as follows:

l. I am a Special Agent employed by the United States Department of Justice, Drug
Enforcement Administration (“DEA”), and as such l am an “investigative or law enforcement
officer” of the United States within the meaning of Section 2510(7) of Title 18, United States
Code, that is, an officer of the United States who is empowered by law to conduct investigations
and to make arrests for offenses enumerated in Tit|e 21 United States Code, Section 801, §L.__s§g.,
and Title 18, United States Code, Section 2516. I have been a DEA Special Agent since
November, 1999. l am currently assigned to the DEA Syracuse Resident Office, Syracuse, New
York. I have participated in numerous successful investigations into illicit drug distribution
networks and have interrogated numerous defendants, informants and others who were sellers,
distributors, or users of narcotics and other illicit drugs. Also, I have been involved in the
monitoring, intercepting and recording of court-ordered wiretaps, and have participated in
numerous search warrants/arrest warrants involving narcotics trafficking In addition to my
above-mentioned experience, l have had the opportunity to speak with and observe other federal
and state narcotics officers with regard to the manner in which narcotics are possessed, sold and
distributed in the Northern District of New York area. l have participated in numerous searches
of residences, businesses and vehicles in which controlled substances, drug paraphernalia,
currency and records were discovered. My experience as well as conversations with other law

enforcement officers, as detailed herein, will serve as the basis for any opinions or conclusions

 

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set forth below. I have personally participated in the investigation of the offenses set forth below
and as a result of my participation and my review of past and present reports made by other
Special Agents of the DEA, and other state and local law enforcement agencies, l am familiar
with the facts and circumstances of this investigation.

B. Purgose of Affidavit

2. This affidavit is submitted in support of a criminal complaint charging Adam
Maikin, aka James May, aka Eric Johnson, aka Erik Johnson with violations of 'I`it|e 21, United
States Code, Sections 84l(a)(l), (b)(l)(B) and 846, conspiracy to possess with the intent to
distribute 100 kilograms or more of marijuana, a Schedule l controlled substance. l have
reviewed reports and discussed with other investigators participating in this investigation and
determined their information to be reiiabie, i allege the facts set forth in this affidavit show there
is probable cause to believe Adam Maikin conspired to possess with the intent to distribute 100

kilograms or more of marijuana.

C. Basis of Information
3. As a result of my personal participation in this investigation, I am familiar with all

aspects of this investigation. l have not included each and every fact known to me concerning the
investigation. I have set forth only the facts that l believe are necessary to establish the necessary
foundation for the criminal complaint.

D. Status of the Case

4. The Drug Enforcement Administration (DEA), New York State Police Community
Narcotics Enforcement Team (CNET), and the U.S. Postal inspection Service have been engaged
in a marijuana investigation in the Oneida and Utica, New York areas since on or about October
20|7. This investigation concerns alleged violations of federal criminal laws prohibiting

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possession with intent to distribute and distribution of Marijuana, a Schedule I controlled
substance, and conspiracy to commit these offenses in violation of Title 21, United States Code,
Sections 84l(a)(l) and 846. The primary target of this investigation is Adam Maikin, aka James
May, aka Eric Johnson, aka Erik Johnson, who currently resides at |301 Thorn Street, Utica,
New York and is suspected of being the leader and organizer of this criminal organization. Adam
Maikin is the registered owner of a black in color 2017 Nissan Frontier, NY registration HMC-
5394. Agents have been monitoring this vehicle since January 12, 2018 through the use of a
global positing device authorized by this court. Maikin is suspected of using the Nissan Frontier
in furtherance of distributing multi-hundred pound quantities of marijuana in and around the
Northem District of New York. The vehicle has been tracked to multiple storage facilities, U.S.
Post Offices, and commercial mail shipping companies, as well as several properties connected
to Maikin. it is strongly suspected at this time that commercial parking lots and shopping centers
in the Utica area are common locations where Maikin meets his marijuana customers.
Additionally, Maikin is also suspected of distributing marijuana accessories and derivatives
including but not limited to liquid forms of marijuana commonly smoked using “Vaping Pens”
and other devices.

5. The GPS data acquired by case agents thus far has been useful to further this
investigation and has helped in identifying additional suspected stash locations, storage facilities
where drugs and other fruits and instrumentalities of drug trafficking may be stored, and other
suspected criminal activities. investigators have identified multiple storage units in the Utica, N¥
area that Maikin has used and is continuing to use to store quantities of marijuana and drug
proceeds. Maikin has obtained several fictitious government issued driver’s licenses in his alias
names which he routinely uses when leasing a new storage unit as will be explained in greater

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detail below. Your affiant based upon his training and experience, is aware that drug dealers
commonly keep large quantities of drugs in storage units to safeguard them from police
confiscation or being stolen by competitors Drug dealers have been known to use fictitious
names to remain anonymous when shipping freight, parcels, renting storage units, and to conceal
financial transactions. lt is suspected at this time that Adam M. Maikin has assumed multiple
identities; “James May”, “Eric Johnson” and “Erik Johnson” in an attempt to thwart any type of
law enforcement detection regarding his criminal activity.

SEIZURE OF l 10 POUNDS OF MARIJUANA BY THE
PENNSYLVANIA STATE POLiCE AND THE lDENTiFlCATiON OF ADAM MALKIN

6. in the fall of 2017, your affiant and other agents initiated a multi-agency investigation
targeting a significant Marijuana trafficking organization with ties to the Northem District of
New York, Connecticut, and Caiifomia among otherjurisdictions. The investigation began afier
a tip from the Pennsylvania State Police on October 10, 2017. Through source information,
Pennsylvania State Police officials were able to identify a pallet that was in-transit by
commercial shipping company Estes and was sent from Rohnert Park, Caiifomia to a storage
facility in Oneida, New York. Pennsylvania State Police seized the pallet afier a K-9 dog
positively alerted to the contents for the presence of narcotics or marijuana.

7. A search warrant was subsequently applied for and officers seized approximately l l0
pounds of marijuana which was hidden in (36) five gallon buckets labeled “Trinity Stain
Premium Concrete Stains.” The buckets were shrink wrapped and sealed on the pallet.
investigators located the marijuana hidden in sand inside of the five gallon buckets. The pallet
weighed 1,200 pounds and was shipped by James May and destined for a “James May

Remodeling” at a storage unit in Oneida, NY. According to personnel at the storage facilities,

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'i`rinity Stain buckets and quantities of sand have been observed near storage units rented by
Maikin and other co-conspirators in Oneida, NY. Postal inspectors determined that money order
23670806354 in the amount of $68|.29 was used as payment to Estes Express Lines freight for
the marijuana shipment that was seized by the Pennsylvania State Police. The money order was
purchased on 0ctober 3, 20 l 7 by James May, 1301 Thorn Street, Utica, NV and made payable to
Estes West.

8. As the investigation progressed, agents determined that “.iames May” was an alias for
Adam Maikin (DOB: 3/2]/XX). Criminal history checks conducted for Maikin by your affiant
revealed that he had been arrested by DEA in a previous marijuana investigation in New Jersey
and also was stopped by law enforcement near Des Moines, iowa in 20|2. During the later
incident, police seized a small quantity of marijuana from Maikin’s vehicle and $85,000 in
United States Currency. During his interaction with police, Maikin admitted that he was
travelling from New York to Northem Caiifomia but refused to state what his intentions were for
the large sum of United States Currency he was transporting.

9. Following the seizure of the pallet by Pennsylvania State Police, your affiant and other
agents from DEA and investigators with the New York State Police identified multiple storage
units that were being rented in the name of “James May” in Oneida and Clinton, NY. Other
rental storage units in the Noithem District of New York were identified as having been rented
by suspected co-conspirators of Adam Maikin. investigators issued DEA administrative
subpoenas to three shipping companies with hubs in the Syracuse, NY area. From 2013 to
present, 20 shipments have been identified totaling approximately 1,500 pounds of suspected
marijuana. The majority of the shipments were destined for James May, James May Remodeling

or to suspected co-conspirators of Maikin’s.

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1301 THORN STREET. FlRST FLOOR. UTiCA. NY

10. During the course of this investigation, it has been determined that Adam Maikin’s
primary residence is 1301 Thorn Street, First Fioor, Utica, NY. Investigators have also identified
multiple additional properties owned by Adam Maikin in Utica, NY. it is suspected at this time
that many of these properties have been purchased by Maikin with marijuana proceeds. A
financial investigation into Maikin’s employment history revealed no legitimate employment for
Maikin, who by his own recorded admissions to an undercover officer (discussed further below),
has been selling marijuana since he was 16 years oid. Your affiant is aware that Maikin is
currently 67 years old. The load of marijuana seized by the Pennsylvania State Police in October
2017 listed 1301 Thorn Street, Utica, NY as the billing address.l Maikin’s Nissan Frontier has
been observed during multiple physical surveillance operations parked at his residence and has
been verified hundreds of times since January 2018 through the use of the global positioning
device installed on his vehicie.

TREASURE CHEST STORAGE FACiLiTY#30

 

11. investigators have determined that Adam Maikin is using multiple storage facilities
in and around the Utica, NY area to store marijuana and marijuana proceeds. On November 20,
2017, in relation to this case, NYSP investigator Ryan interviewed the manager of 'i`reasure
Chest Storage located at 7870 State Route 5, Clinton, NY. The manager advised investigator
Ryan that a “.iames May” had rented storage unit #30 at that facility and provided a copy of
May’s driver license. As part of the application for the storage unit, May listed 1301 Thorn
Street, First Fioor, Utica, NY as his primary residence. investigators determined that May’s

driver’s license was fictitious after matching the photo to a New York State DMV photo of

 

l Utilities at 1301 Thorn Street, First Fioor, Utica, NY are registered in the name Adam Maikin.

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Adam Maikin. The license in question was a copy of a State of illinois Driver’s License in the
name of James A. May, with an l|linois address. The investigation to date has revealed that
Maikin has assumed the identity of “.iames May.” Your affiant believes this is a calculated
attempt to thwart any type of law enforcement detection regarding his criminal activity.

12. Investigator Ryan interviewed the storage unit manager a second time in December
2017, During this interview the manager provided a physical description of Maikin as weil as a
license plate and vehicle description for the Nissan Frontier. Also in December 2017, Maikin
paid his storage fee for Unit #30 and was observed retrieving a cardboard box with dimensions
roughly 2 '/z x 2 '/z x 1 '/z from the storage unit, Maikin was observed by personnel at the storage
facility placing the cardboard box into his Nissan Frontier. Additionally iri December 2017,
USPI Matthew Puro identified a suspicious parcel addressed to Malkin’s residence which had
originated from Caiifomia.2 The package was ultimately delivered in order to not compromise
the ongoing investigation. The manager of the storage facility has observed Maikin aka “May”
arrive at his rented storage unit # 30 in his 2017 Nissan Frontier color black bearing State of New
York registration # i~iMC5394 on several different occasions. Maikin has also entered the
business office to make monthly payments for his rented storage unit, Whiie at his rented storage
unit he has been observed by management carrying boxes from the unit and placing them into the
front passenger seat of his vehicle. These boxes were consistent with boxes located previously at
Affordable Storage and Your Lock N’ Stor, other storage units previously rented by Maikin.

L & L SELF STORAGE FACILiTY#14041

13. On January 24, 2018, NYSP investigator Ryan and your affiant interviewed the

 

2 The sender listed on the package did not match any known names at that address. This is a
common ruse drug dealers use to avoid detection.

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manager of` L&L Self Storage, located at 2222 Oriskany Street, Suite 2, Utica, NY. The manager
advised investigator Ryan and your affiant, that Adam M. Maikin had rented storage unit #
14041 at that facility on March 6, 2017, Maikin had previously rented storage unit # 30533 in
August of 2016. As a part of the application for the storage unit, Maikin listed phone number
(516) 203-5761. Maikin also provided 2 addresses one in Great Neck and 4 the other in Utica,
NY. i-ie also provided a Caiifomia Driver’s License in the name of Adam Mill Maikin, with a
Eureka, CA address. The photo of Maikin was consistent with the fictitious State of illinois
Driver’s License in the name of James A. May referenced above. A review of GPS data by your
affiant from April 7, 2018 to July 7, 2018 (90 day period), confirmed that Malkin’s Nissan
Frontier was tracked to L& L Storage 21 times.
ACCESS SELF STORAGE UNiT # 147

14. On March 23, 2018, NYSP investigator Ryan interviewed the manager of Access
Self Storage, located at 425 Lomond Place, Utica, NY 13502. The manager advised investigator
Ryan that an “Erik Johnson,” a known alias of Malkin’s, had rented storage unit # 147 at that
facility on March 19, 2018. As a part of the application for the storage unit, “Johnson” listed an
address of 1301 Thom, Apt 1, Utica, NY 13502, which as your affiant has detailed is the primary
residence of Adam Maikin. A review of GPS data by your affiant from April 7, 2018 to July 7,
2018 (90 day period), confirmed that Malkin’s Nissan Frontier was tracked to Access Se|f
Storage, 425 Lomond Place, Utica, NY, 53 times.

U-HAUL MOVING AND STORAGE OF UTlCA UNIT#1211

15. On .iune 5, 2018, NYSP investigator Ryan interviewed the manager of U-Haul Self
Storage & Storage of Utica, located at 430 Lomond Place, Utica, NY 13502. The manager
advised lnvestigator Ryan that a “James May” had rented storage unit # 121 l at that facility on

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May 22, 2018. As a part of the application for the storage unit, “May” listed his address as 1301
Thom, Utica, NY 13502. The following phone numbers were also listed (516) 260-0062 and
(646) 946-6239 on the application. “May” provided a Maryland Driver’s License in the name of
James May and an alternate contact name of Erik Johnson residing in Baltimore, Maryland. A
review of GPS data by your affiant from May 22, 2018 to .luly 7, 2018 (45 day period),
confirmed that Malkin’s Nissan Frontier has been tracked to this U-Haul Moving and Storage
facility 12 times.
3757 LITTLE FAiRFiELD STREET. #i . EUREKA, CALiFORNlA 95503

16. 'i`hrough the course of this investigation, Maikin has sent multiple packages
suspected of containing drug proceeds to a co-conspirator believed to be his primary marijuana
source of supply in Eureka, Califomia. From October 31, 2016 to June 28, 2018 U.S Postal
inspector Matthew Puro has identified 76 parcels mailed from the Utica area to Malkin’s
Caiifomia Co-conspirator. The postage paid by Maikin for these parcels was over $i,OOO. As
will be detailed below, Postal inspectors have gathered a significant amount of evidence thus far
in the investigation through the use of “Sneak and Peak” Federal search warrants, video and
screen shots of individuals mailing parcels, and other traditional investigative techniques which
confirm in your affiant’s training and experience that Maikin and his Caiifomia co-conspirator
are involved in a long standing drug conspiracy.

17. On January 13, 2018, New York State Police CNET investigator 'i`imothy Ryan
tracked Malkin’s Nissan Frontier via the court authorized GPS. At approximately 12:44 p.m.,
MALKiN’s vehicle departed 1301 Thorn Street, Utica, NY 13502. At 12:52 p.m., Malkin’s
vehicle was located near the Keman Station Post Office located at 1709 Genesee Street, Ste. l,

Utica, NY 13501. Investigator Ryan noted that the vehicle traveled directly from the area of

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Malkin’s residence without any stops in between before arriving in the area of the Keman
Station Post Office.

18. On January 19, 2018, U.S. Postal inspector Matthew Puro traveled to the Keman
Station Post Office located at 1709 Genesee St, Ste. 1, Utica, NY 13501 to review images from a
video surveillance system at the office dated January 13, 2018, inspector Puro observed Adam
Maikin on the video system entering the Post Office carrying three US Postal Service Priority
Mail boxes, and mailing the parcels at approximately 12:53 p.m., on January 13, 2018, images
of the parcels were obtained, and it Was observed that each bore the return name and address of
Eric Johnson, 1301 Thorn St, Utica, NY 13502. One of the three parcels mailed on January 13,
2018 was addressed to Malkin’s Caiifomia co-conspirator.

19. On Saturday, February 3, 2018, New York State Police CNET investigator Timothy
Ryan contacted U.S. Postal inspector Matthew Puro and advised that Malkin’s truck was
believed to be near the Keman Station Post Office located at 1709 Genesee St, Ste. l, Utica, NY
13501. Postal inspectors contacted USPS employees and learned that a U.S. Postal Service
Priority Mail Parcel was accepted for mailing at approximately 9:30 am, and bore the return
name and address of Eric Johnson, 1301 Thorn St, #l , Utica, NY 13502 (the same alias believed
to be used by Adam Malkin). This parcel was secured by U.S. Postal Inspectors. Also on this
date, Malkin’s truck traveled to Your Lock N’ Stor, located at 7454 State Route 5, Clinton, NY,
Treasure Chest Storage, located at 7870 State Route 5, Clinton, NY, and A-Verdi Self Storage,
located at 9816 River Road, Marcy, NY. This information was corroborated by the GPS unit for
Malkin’s vehicle. On February 8, 2018, USPI Puro reviewed video images from a surveillance
system at the Post Office for U.S. Postal Service transactions involving this parcel, and observed
Adam Maikin enter the Keman Station Post Office on February 3, 2018, approach the counter

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line with a U.S. Postal Service Medium Flat Rate box in his possession, and mail the parcel.

20. On February 5, 2018, the above referenced parcel was subjected to canine
examination by New 'York State Police Canine Handler Eric Knapp and his Canine "Scotty." At
approximately 9:48 a.m., canine handler Knapp informed U.S. Postal inspector Puro that
“Scotty” had positively alerted to the parcel for the presence of narcotics or marijuana emanating
from the parcel. Postal Inspector Puro was present and observed “Scotty's” alert to the parcel.
On February 5, 2018, U.S. Postal inspector Puro applied for and was granted a Federal Search
Warrant issued by U.S. Magistrate Judge Andrew T. Baxter for the parcel which was addressed
to an address in Stevenson Ranch, CA. The parcel was opened later that same aftemoon, and
was found to contain plastic shopping bags, a liquor store receipt from Utica, NY, a U.S. Navy
Manual, and Vacuum sealed bag containing a large amount of U.S. Currency which weighing
approximately l pound, 2.3 ounces, and a note indicating the amount was 810,000, along with a
note with the writing “Shatt Cartridges” and the name “Adam” (beiieved to be Adam Malkin).
Your affiant, and other Federal and State investigators involved in the investigation believe the
U.S. Currency was payment for an order of Cannabis Oil cartridges, also known as Shatter Oil,
or THC oil extract, which can be inserted into e-Cigarette pipes or “Vape” pipes/pens and
inhaled. The contents of parcel were photographed, and the parcel repackaged as it was
originally found, and returned to the mail stream. The parcel was later delivered in Caiifomia on
February 6, 2018.

FEDERAL SEARCH WARRANT EXECUTED ON FEBRUARY 9. 2018 OF A PARCEL
MAILED BY ADAM MALKIN 'i`O HiS CALiFORNIA CO-CONSPIRATOR

21. On the morning of February 8, 2018, U.S. Postal inspector Puro was contacted by a

U.S. Postal Service employee who advised that a white maie, approximately 50 years old, and

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bald had just mailed two U.S. Postal Service priority mail parcels using the return name of “Erik
Johnson” and address of 1301 Thorn Street, #1, Utica, NY 13502 from the Keman Station Post
Office located at 1709 Genesee St, Ste. 1, Utica, NY 13501 (The employee was aware that Postal
inspectors had inquired on a parcel mailed using that same name and address on Saturday,
February 3, 2018, and contacted inspector Puro after the parcel had been mailed). Puro advised
the U.S. Postal Service employee to hold the parcels at the office for further investigation. A
short time iater, inspector Puro was contacted by New York State Police investigator Timothy
Ryan who advised that Malkin’s Nissan Frontier, at approximately 8:45 a.m., departed Malkin’s
residence located at, 1301 Thorn Street, Utica, NY 13502. At 9:00 a.m., the vehicle was tracked
near the Keman Station Post Office located at 1709 Genesee Street, Ste. l, Utica, NV 13501.
investigator Ryan noted that the truck traveled directly from the area of Malkin’s residence
without any stops in between before arriving in the area of the Keman Station Post Office. Also
on this date, Malkin’s truck traveled to Your Lock N’ Stor, located at 7454 State Route 5,
Clinton, NY, Treasure Chest Storage, located at 7870 State Route 5, Clinton, NY, and A-Verdi
Self Storage, located at 9816 River Road, Marcy, NY. This information was corroborated by
the GPS unit.

22. inspector Puro also noticed that the current parcels were mailed with the first name
of “Erik” spelled this time with a “i(,” and recalled that a prior parcel mailed on February 3 from
the same post office bore the return name of “Eric Johnson” spelled with a "C.” inspector Puro
believed the mailer, Adam Maikin, utilized the alias Eric Johnson on these two occasions, and
misspelled his own aiias, either intentionally or unintentionally.

23. Also on this date, inspector Puro traveled to the Keman Station Post Office in Utica,
NY to review the parcels, and upon arrival at the Keman Station Post Office, Puro visually

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observed the outside of the parcels and noticed one parcel was addressed to Malkin’s Caiifomia
co-conspirator. This parcel, mailed using the return name of Erik Johnson, 1301 Thorn Street,
#1, Utica, NY 13502, weighed 3 pounds, 13.10 ounces.

24. inspector Puro then visually reviewed the outside of the second parcel, which also
bore the return name of Erik Johnson, 1301 Thorn Street, #1, Utica, NY 13502. 'I`his second
parcel was addressed to an address in Sonoma, CA and weighed 4 pounds, 6.5 ounces, Both
parcels were secured by inspector Puro for further investigation including a canine exam and a
search warrant application.

25. Whiie at the Keman Station Post Office, inspector Puro reviewed video surveillance
footage from the Keman Station Post Office for activities beginning at 9:04 a.m., that same day.
inspector Puro again observed Adam Maikin, enter the Keman Station Post Office with two
parcels under his arm. Maikin was observed approaching the counter line at the Post Office and
mailing the two parcels which bore the alias of “Erik Johnson” and were further referenced iri
previous paragraphs above.

26. Additionally on February 8, 2018, the two parcels were subject to a canine exam by
New York State Police Canine Examiner Mark Buzzard and his Canine “C.T.” Canine Handier
Buzzard informed inspector Puro that C.T. had positively alerted to both parcels for the presence
of narcotics or marijuana emanating from the parcel. On February 9, 2018, inspector Puro
applied for and was granted a Federal Search Warrant issued by U.S. Magistrate Judge Andrew
T. Baxter for both parcels.

27. The first parcel addressed to Malkin’s Caiifomia co~conspirator was opened later
that same aftemoon, and found to contain plastic shopping bags, military manuais, a vacuum
sealed bag, $13,325 in US Currency and a handwritten drug ledger which referenced what

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appeared to be sources of payments for an $80,000 purchase or debt. Your affiant, and other
Federai and State investigators involved in the investigation believe the U.S. Currency was
payment for an order of Marijuana. The second parcei, addressed to an address in Sonoma,
Caiifomia was also found to contain plastic shopping bags, crumpied paper towels, old military
manuals and a vacuum sealed plastic bag containing $4,640.00 in US Currency, with a dated
note believed to be signed by Adam Maikin. The US Currency found inside is also believed to
be f`or the purchase of illegal drugs, specifically Marijuana or synthetic cannabinoids. The
contents of both parcels were photographed, and repackaged as they were originally found, and
returned to the mail stream and delivered.

FEDERAL SEARCH WARRANT EXECUTED ON APRlL 19'2018. FOR ANOTHER
PARCEL ADDRESSED TO MALKIN’S CALIFORNIA CO-CONSPIRATOR

28. On April 18, 2018, inspector Puro was contacted by New York State Police
investigator Timothy Ryan who advised that Malkin’s vehicle was parked near the Butterfield
Station Post Office in Utica, NY. Also on this date, Malkin’s Nissan Frontier traveled to
Treasure Chest Storage, located at 7870 State Route 5, Clinton, NY. This information was
corroborated by the GPS unit installed in Malkin’s truck. in response to this information, Postal
inspectors contacted a USPS Employee and asked if any parcels had been mailed using the name
James May, or Eric (Erik) Johnson (the three know aliases used by Adam Malkin). The
employee advised a parcel had been mailed using the name Erik Johnson, 1301 Thorn St., Utica,
NY 13502. inspector Puro asked the employee to hold the parcel for additional investigation.

29. inspector Puro traveled to the Butterfield Station Post Office and visually observed
the outside of the parcel mailed using the name Erik Johnson, The parcel was mailed Priority

Mail, bore postage in the amount of $l3.65, and was packaged in a USPS Priority Mail Medium

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Flat Rate box. The parcel was addressed to Malkin’s Caiifomia co-conspirator. The parcel was
transported by Postal inspectors to an offsite location and was subject to canine examination by
New York State Police Canine Handier Mark Buzzard, and his canine “C.T.” At 2:31 p.m.,
Canine Handier Buzzard informed inspector Puro that C.T. had positively alerted to the parcel
f`or the presence of narcotics or marijuana. inspector Puro was present and observed C.'i`.’s
canine alert to the parce|.

30. On April 19, 2018, inspector Puro applied for and was granted a Federai Search
Warrant issued by U.S. Magistrate Judge Andrew T. Baxter for the parcel. The parcel was
opened by your affiant and other investigators and the contents photographed. The parcel was
found to contain plastic shopping bags, cut up cardboard with address labels containing the name
“Adam Malkin,” a piece of cardboard with the handwritten note “19 'i`otai" and a vacuum sealed
plastic bag containing United States Currency weighing 2 pounds, 1.40 ounces with
approximately 19 rubber banded bundles. The U.S. Currency was estimated to be
approximately $19,000. The parcel was re-sealed that evening, and returned to the U.S. Postal
Service mail system for delivery. The parcel was delivered in Eureka, CA on April 21 , 2018,

UNDERCOVER NYSP iNVESTIGATOR iNlTlAL CONTACT WITH MALKIN

31. During the month of February 2018, investigator Ryan identified an online
marijuana classified website known as Budbay.com that your affiant has since ieamed caters to
individuals looking to buy and sell quantities of marijuana. One posting from the Central New
York area that caught the attention of investigators was from an “Adam” who listed phone
numbers previously identified in this investigation as contact numbers Maikin used for storage
units and freight companies.

32. On the website, Maikin wrote the foilowing: “l have set up a safe facility for the

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viewing and packaging of items. i am Bi-coastal splitting my time between Caiifomia and
Central NY. i will travel and have the first meet and greet in your backyard. Simply give me a
call 516-260-3457. Thirty years of experience in all aspects of the industry, a large variety of
inventory to view, indoor, greenhouse, and outdoor, competitive pricing, a safe place to view
products, a safe place and all tools and packaging items necessary to package products for
shipping, safe ways to ship products, a few proven methods.”

33. On Wednesday, May 2, 2018, a New York State Police undercover investigator,
made telephonic contact with Maikin at 516-260-0062. During the recorded phone conversation,
Maikin asked the undercover how he knew him and how he got his phone number. The
undercover said he found his post on Budbay.com and was saving it for a rainy day. Maikin said
that he placed the post for two years but got no response so he took it down. Maikin said that he
was still working and has been in the game for a long time. Maikin told the undercover he was
from Utica, NY. Maikin asked the UC what he was looking for and told the UC his inventory
was from the i-iumboldt Hills, Northem Caiifomia area. Maikin said that he could provide
anywhere between 1 and 100 pounds, whatever he (the UC) wanted to purchase. Maikin
discussed price points and said if the undercover purchased less than ten pounds it would cost
$2,100.00 per pound. Maikin told the UC he had two strains of marijuana totaling 40 pounds
each. Maikin also advised the UC that he was expecting an additional 40 pounds of marijuana on
Friday, May 4, 2018, Maikin said that they would meet in person and if that went well he would
bring the UC back to his residence to see his inventory.

PHYSICAL SURVEILLANCE OF ADAM MALKIN
AT THREE STORAGE UNiTS ON MAY 4. 2018

34. On May 4, 2018, New York State Police investigators Ryan, Evans, Fischer,

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Paquette, Gallagher, .iones, U.S. Postal inspector Puro, Drug Enforcement Administration Task
Force Officer ('i`FO) Rivers and your affiant were conducting physical surveillance in the
furtherance of this investigation. information had been developed through the undercover contact
with Maikin that he was expecting a forty-pound shipment of marijuana. Given this information,
agents established surveillance in the vicinity of Malkin’s residence. At 9:45 a.m., investigator
Ryan and your affiant observed Adam M. Maikin operating his Nissan Frontier, color black,
bearing State of New York registration # HMC5394 and traveling south bound on York Street, in
the City of Utica. Approximately one minute later, Task Force Officer Rivers observed Maikin
arriving at his residence located at 1301 Thorn Street, First Fioor, Utica, NY.

35. At 10:15 a.m., investigator Ryan and your affiant, observed Maikin operating his
Nissan Frontier and traveling west on Thorn Street, in the City of Utica. Approximateiy eight
minutes later, Maikin was observed by investigator Ryan and your affiant arriving in the parking
lot of Home Depot located at 545 French Road, New Hartford, NY. Approximately one minute
later, Malkin’s vehicle appeared to be unoccupied in the parking lot. At 10:29 AM., Maikin was
observed wearing khaki pants, blue t-shirt, and glasses departing the i~iome Depot Store pushing
a shopping cart which contained Home Depot card-board boxes. Maikin loaded the boxes into
the rear cargo bed of his Nissan Frontier. Approximately one minute later, Maikin entered his
vehicle and departed the Home Depot parking lot. Maikin was followed by surveillance agents
over to L&L Storage, 2222 Oriskany Street, Utica, NY at 10:41 am. Your affiant and
investigator Ryan observed Maikin parked in front of a storage unit. Agents observed one
suitcase in the bed of the Nissan Frontier. Maikin was observed placing a second suitcase into
the bed of the truck which appeared he retrieved from the storage unit. At approximately 10:45
a.m. Maikin closed the bed of the truck and the door of the storage unit and departed the area.

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36. At 11:05 a.m., your affiant and investigator Ryan observed Maikin at Access Self
Storage, located at 425 Lomond Place, in the City of Utica. Maikin parked in front of unit
number 147 and was observed walking in and out of the storage unit. Approximately one minute
later, Maikin was observed removing plastic bins from the storage unit and placing them into the
front compartment and rear cargo area of his truck. At 11:15 a.m., Maikin removed a dark
colored suit case and what appeared to be a large Peiican case from the storage unit and placed
them into the bed of the truck. At 11:18 a.m., Maikin entered his vehicle and departed the storage
facility.

37. At 1 1:23 a.m., Investigator Evans observed Maikin arrive at Treasure Chest Storage,
located at 7870 NY-S, Clinton, New York. Maikin parked his vehicle in front of storage unit
number 30. At 12:17 p.m., investigator Evans observed Maikin depart the parking lot of Treasure
Chest Storage, then travel east on NY-5. At 12:31 p.m., TFO Rivers observed Maikin arrive at
his residence, located at 1301 Thorn Street, First Fioor, Utica, New York, Later that aftemoon,
investigators tracked Malkin’s vehicle via the GPS unit. At 2:30 p.m., investigator Ryan and
your affiant observed Malkin’s vehicle parked next to storage unit number 147 at Access Self
Storage, located at 425 Lomond Place, in the City of Utica. At 2:41 p.m., Maikin secured the
door of storage unit 147 and placed a yellow bag into the bed of his truck. Approximately one
minute later, Maikin departed the parking lot of Access Self Storage. At 2:50 p.m., investigator
Jones observed Maikin arrive in his vehicle at his residence located at 1301 Thorn Street,
Apartment l, Utica, NY. At 3:18 p.m., TFO Rivers observed Maikin depart his residence. At
3:23 p.m., investigator Ryan and your affiant observed Maikin arrive in the area of 1014 Hess
Lane, in the City of Utica. Approximately one minute later, Maikin departed in his vehicle from
Hess Lane, Utica. At 3:30 p.m., Investigator Fischer observed Maikin arrive at his residence,

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located at 1301 Thorn Street, Apartment 1, Utica, New York.
ADDITIONAL CONTACT WITi-i UNDERCOVER AGENT

38. On May 16, 2018, the undercover (UC) conducted a recorded phone call with
Maikin. Maikin and the (UC) had a conversation wherein they discussed meeting up in order to
view different strains of marijuana. Maikin told the (UC) that he “stubbed his toe and lost 40
items,” believed by your affiant as a reference to having marijuana seized by law enforcement.
Maikin said that he currently only had three types of strains on-hand vice his usual eight to
twelve different strains. Maikin stated that he was expecting 40 items and said that it would be a
mix. Maikin advised that they were being shipped out in the next couple of days and that it
would take three or four days to arrive. Maikin asked the UC to re-contact him in five or six days
and they would set up a meeting.

39. On May 18, 2018, US Postal inspector Puro identified an outbound U.S. Postal
Service Priority Mail Parcel connected to this investigation. The parcel was shipped from Eric
Johnson, 1301 Thorn St #i Utica, NY 13502 to Malkin’s Caiifomia co-conspirator. This parcel
was delivered and no police action was taken as to not compromise the investigation. Your
affiant and other investigators believe that the parcel was drug proceeds mailed by Maikin to his

marijuana source of suppiy.

FEDERAL SEARCH WARRANT OF PARCEL MAILED TO MALKIN’S
CALIFORNIA CO-CONSPIRATOR ON MAY 30. 2018

40. On May 29, 2018, U.S. Postal Service Employee’s contacted inspector Puro and
advised that a male customer had mailed two parcels from the Butterfield Station Post Office.
The individual was described as a white male, bald, with unique ears and was identified as the

same male from a photo USP| Puro had previously shown to the U.S. Postal Service employee

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(the photo was an unidentified photograph of Adam Malkin). The employee advised the male
had sent two parcels, one using the name Eric Johnson, and the other using the same name, but
the spelling of “Erik” Johnson, inspector Puro responded to the Butterfield Station Post Office,
and visually examined the mailing labels and the outside of the two parcels,

41. The first parcel, hereafter referred to as “Parcel #1” was mailed with the return name
and address of Eric Johnson, 1301 Thorn St., Utica, NY 13502 and was addressed to a location
in Huntington, New York, The second parcel, hereafter referred to as “Parcel #2” bore the return
name and address of Erik Johnson, 1301 Thorn St Apt #1, Utica, NY 13502 and was addressed
to Malkin’s Caiifomia Co-Conspirator.

42. Also on May 29, 2018, Parcel’s #1 and #2 were independently subject to canine
examination by New York State Police Canine Handier Mark Buzzard, and his canine “C.'l`.” At
3:45 p.m., canine handler Buzzard informed inspector Puro that C.T. had positively alerted to
Parcel #1. At 3:49 p.m., canine handler Buzzard informed inspector Puro that C.T. had
positively alerted to Parcei #2. Canine Handier Buzzard provided two detailed depositions on
the canine exams and the canine’s training and certification.

43. On May 30th, 2018, inspector Puro applied for and was granted a Federal Search

Warrant issued by U.S. Magistrate Judge Therese Willey Dancks for both parcels. Both parcels
were opened later that same afiemoon, was found to contain the following:
Parcel #1 addressed to Huntington, New York - Brown Craft Paper, plastic shopping bags,
books, a vacuum sealed plastic bag with two glass jars containing a green leafy substance, one
labeled as “Afgan God” and the second labeled “Lambs bread.” The green substance was field
tested and was positive for the presence of marijuana. The weight of the substance was 3.80
ounces, The parcel was seized due to the presence of the illegal marijuana.

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Parcel #2 addressed to Malkin’s Caiifomia Co-Conspirator - Plastic shopping bags, books, paper
towels, a magazine, a brown craft paper bundle marked “15K,” a vacuum sealed bundled of U.S
Currency wrapped in approximately l 1 rubber handed bundles and weighing 14.70 ounces. The
parcel was photographed, rewrapped and returned for normal U.S. Postal Service handling and
delivered in Eureka, Caiifomia on June 1, 2018.

44. Postal inspectors reviewed surveillance footage from a covert camera system at the
Butterfield Station Post Office and observed that on May 29, 2018, Adam Maikin, was observed
mailing both parcels during his visit to the Butterfield Station Post Office in Utica, NY.

MEETING BETWEEN UNDERCOVER AND MALKIN ON MAY 30 2018

 

45. Also on May 30, 2018, Maikin and (UC) agreed to meet at the international House
of Pancakes (ii-iOP), in New Hartford, NY. Surveiilance was established at Malkin’s residence
and the iHOP in anticipation of the undercover operation.

46. Prior to the meeting, the UC was fitted with a recording device in order to capture
the audio conversation. At 4:09 p.m., Senior investigator Fox observed the (UC) arrive in the
rear parking lot of the 11-10P. Approximately one minute later, the UC made telephonic contact
with Maikin at (516) 260-0062. Both parties agreed to meet at the lHOP. At 4:23 p.m., Senior
investigator Fox observed Maikin arrived in the Nissan Frontier. Maikin exited his vehicle
wearing tan khaki’s and dark colored shirt further observed meeting with the (UC). The (UC)
then entered Malkin’s Nissan and they traveled to Access Self Storage, located at 425 Lomond
Place, Utica, New York. Maikin unlocked unit number 147 and both parties entered to view the
contents of the storage unit. Maikin provided the (UC) small marijuana samples and discussed
price points of $2,100.00 per pound with the undercover. The (UC) observed approximately
twenty pounds of marijuana, two large suit cases, and two U.S. Postal Priority boxes addressed

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to Malkin’s Caiifomia Co-Conspirator inside the storage unit. Maikin told the UC he has been in
the business since he was 16 years old and the inventory comes from Humboldt County in
Eureka, Caiifomia. He stated that he has a partner there. Maikin stated he could get anything the
UC wanted, including “cartridges” and marijuana wax. Maikin stated that his source moves 100
pounds per week because the quality is that good. Maikin stated he has 40-50 on hand but tries
to keep 100 on hand. Maikin stated “i make a good living selling weed. 1 only have one client.
I’d love to have two. i don’t care if you buy one unit, five units, or 100 units. Just give me
notice.”

47. A short time later the UC and Maikin departed Access Self Storage and arrived a
few minutes later back at iHOP. While in the iHOP parking lot, Maikin contacted his source of
supply in Caiifomia and discussed business with the source on his cellular phone and while in
front of the UC. During the conversation, Maikin discussed obtaining various kinds of marijuana
edibles and other marijuana accoutrements from the source. Maikin admitted to the (UC) that he
had previously shipped marijuana via freight companies but had lost a pallet with over 100
pounds of marijuana. Maikin stated that he lost pallets back to back. Your affiant believes this
was clearly a reference to the load of marijuana seized by the Pennsylvania State Police during
the fall of 2017 as detailed by your affiant previously in this affidavit. Maikin advised the UC
that after this loss occurred he stopped sending pallets and now uses the mail to ship his
marijuana. While talking in the parking lot, Maikin requested the UC re-enter his vehicle and
travel with him to view additional marijuana. Alier a short drive they arrived at U-Haul Moving
& Storage of Utica located at 430 Lomond Place, Utica, New York, Maikin unlocked unit
number 1211 and both parties entered to view the marijuana. The UC observed approximately
twenty pounds of marijuana. After viewing the marijuana and discussing additional detaiis, they

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traveled back to the ii~iOP parking lot in the Nissan Frontier. Maikin and the UC agreed to stay
in touch and meet again in the near future. The Marijuana evidence was sent to the New ¥ork

State Police lab for analysis.

SEIZURE OF §lS,OOO iN SUSPECTED DRUG PROCEEDS
MAiLED TO MALKIN’S CALlFORNiA CO-CONSPIRATOR

48. On June i 1, 2018, Postal inspector Matthew Puro was advised by U.S. Postal Service
personnel that a male, described as a bald male, Caucasian, in his late 50s, had mailed another
parcel using the name and address Eric Johnson, 1301 Thorn St #1, Utica, NY 13502 from the
Kerman Station Post Office in Utica, NY. The parcel was addressed to Malkin’s Caiifomia Co-
Conspirator in Eureka, Caiifomia. The parcel was secured by inspector Puro and was subject to
canine examination by New York State Police Canine Handier Eric Knapp, and his canine

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“Scotty. At 9:35 a.m., canine handler Knapp informed that “Scotty” had positively alerted to
the presence of narcotics or marijuana. Later that same aftemoon, Inspector Puro applied for and
was granted a Federal Search Warrant for the parcel which was then opened by your affiant and
other agents and found to contain $15,000.00 in U.S. Currency. The currency was in three large
stacks inside a clear plastic baggie bundled together and in denominations consistent with
marijuana trafficking Located in the box were multiple pieces of cut up cardboard from other
priority mail boxes, one of which had the name Adam Maikin written on it as well as a receipt
for a USPS Priority Mail Flat rate box shipped from Eric Johnson to Malkin’s Caiifomia Co-
Conspirator dated 4/24/18. The credit card used to pay for the shipment was in the name Adam

M. Maikin. The U.S. Currency was administratively seized by your affiant as suspected drug

proceeds.

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UNDERCOVER PURCHASE OF TWO POUNDS
OF MARIJUANA FROM MALKIN

49. Following the first meeting, the UC and Maikin remained in regular telephonic
communication. In the days leading up to June 26, 2018, the UC advised Maikin he would be in
the Utica, NY area so that they could meet again. On June 25th and 26th, 2018 Maikin and the
UC engaged in a series of text messages:

-Outgoing text from UC to 516-260-0062 on 6/25/18 @ 5:02 PM: "Will ub around 2mrw."
-lncoming text from MALKIN to UC on 6/25/| 8 @ 5:36 PM: "What time i have a 2PM
apoitment."

-Outgoing text from UC to 516-260-0062 on 6/25/18 @ 5:39 PM: "Hows 1 130."

-lncoming text from MALKiN to UC on 6/25/18 @ 5:41 PM: "Sure how many all different."
-Outgoing text from UC to 516-260-0062 on 6/25/18 @ 5:44PM: ".iuat 2 for now. l gg and 1
whatever (taking samples back) hope to be back through within a week."

-lncoming text from MALKIN to UC on 6/25/ 18 @ 5:45 PM: "Ok."

50. On June 26, 2018, members of DEA, New York State Police, and U.S. Postal
inspectors met in Utica, NY for an operational briefing. The purpose of the briefing was
for conducting a controlled purchase of 2 pounds of Marijuana from Maikin. Following the
operational briefing, surveillance agents established surveillance at Malkin's residence, 1301
Thorn Street, Utica, NY, and at the likely meet spot at the iHOP, in New Hartford, NY.

51. At approximately 12:35 PM, your affiant provided $4,200 in DEA official advanced
funds (OAF) to the undercover and he was fitted with a recording device. The GPS on Malkin’s
vehicle confirmed that his Nissan Frontier was parked and was stationary at 1301 Thorn Street,
Utica, NY. Surveiilance units confirmed that the vehicle was parked there at approximately
12:40 PM. At approximately 12:43 PM on 6/26/18, the UC placed an outgoing text to 516-260-
0062: l‘ili be at the ihop in about 10 min. No hurry though." Maikin and the UC then engaged in
a series of recorded phone conversations prior to meeting. At 12:47 PM, the UC called Maikin at

516-260-0062 and they made arrangements to meet near the Home Depot (Located next to the

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iHOP). At 12:56 PM, the UC called Maikin again and advised him that he was in a blue van.
Maikin told the UC he would be there in a minute. Approximately one minute later at 12:57 PM,
Maikin called the UC in order to confirm that the UC wanted "2," a reference your affiant is
aware was for two pounds of marijuana that Maikin would be selling to the undercover.

52. At approximately 12:50 PM, your affiant and inv. Ryan lefi the CNET office
followed by the UC. At approximately 12:56 PM, the UC arrived and parked in the back parking
lot of the iHOP. At approximately 12:59 PM, investigator Chevrier observed Malkin’s Nissan
Frontier departing his residence, Maikin was followed for a brief period by surveillance units and
his vehicle was tracked via the GPS. At approximately 1203 PM, Maikin was observed by your
affiant and inv Ryan arriving in the parking lot of iHOP. Maikin parked his Nissan Frontier next
to the UC vehicle and Maikin exited the Nissan Frontier. Maikin then engaged the UC at
the open passenger side window of the undercover vehicle. Maikin and the UC engaged in a
lengthy conversation regarding Marijuana quantity, prices, delivery, storage units, purchasing
rental property, and how much the UC wanted the next time. Maikin told the UC that he would
deliver wherever he wanted and that they “were beautiful items, all gorgeous, nice fresh buds
and money back guarantee.” Regarding storage units, Maikin told the UC, “Vou know 1 love
em. They are safe. l don’t mind taking people there. $80.00 per month.” Maikin further stated
that everything he gets is from “Humboldt County, 500 units per season.” Maikin admitted that
he was closing on a single family house later that afternoon and that he had five other properties
in the area. Maikin also stated that he may need to fly out to Caiifomia to meet with his source if
the UC wanted a large amount. Maikin stated his source grew up out there; his mother is
involved in the business as is his whole family. Maikin told the UC that he had some inventory
at his house if the UC wanted to see them and that if the UC wanted over 50 pounds he again

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reiterated he would likely fly out there to purchase them. Maikin exchanged 2 pounds of
Marijuana for the $4,200 in DEA funds with the undercover. Maikin provided the UC
the Marijuana in a cardboard box.

53. At approximately 1228 PM, Maikin was observed entering the Nissan Frontier and
exiting the parking lot by your affiant and inv Ryan. Maikin was followed from the meet spot
directly back to his residence, 1301 Thorn Street, Apartment 1, Utica, NY, arriving at
approximately 1234 Pl\/l as observed by NYSP inv Jones. Maikin was observed
leaving approximately two minutes later at 1:36 PM as observed by inv Jones. Surveiilance was
terminated a short time later, Maikin sold the UC (2) Food saver bags each containing a pound
of marijuana which were labeled "OG" and "Skunk" respectively that were placed inside a
cardboard box which Maikin had the marijuana secreted in. At approximately 2:15 PM, the
marijuana field tested positive for the presence of marijuana by inv Ryan utilizing a Marijuana
908 test kit as witnessed by your affiant and TFO Rivers. The marijuana purchased from Maikin
has been sent to the DEA lab for further analysis.

54. On .iune 27, 2018, at approximately 1:37 PM, MALKIN called the UC and advised
the UC that he had "26 on hand." The UC advised MALKiN he would need more in the coming
weeks and they agreed to stay in contact with each other.

RECORDED PHONE CALLS BETWEEN THE UC AND MALK|N ON .|ULY 6. 2018
COORDINATING LOAD OF MARIJUANA

55. On .luly 6, 2018, the undercover and ivlalkin engaged in a series of recorded phone
calls in order to discuss logistics and coordinate a shipment of marijuana from Caiifomia to the
Central New York area. During the series of calls, Maikin advised the UC that he had a new cell

phone and may need to fly out there and arrange the shipment. He told the UC that he just got

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off the phone with the source and it was going to be a two week turn around time. Maikin stated
“1 gotta get him 50 k and l gotta get it here.” Maikin told the UC there were a number of
different ways to get the load to New York; that they could use suitcases or “Pods.” Maikin told
the UC that they could fit “18” in a suitcase and that it could be sent from a FedEx facility in
Caiifomia to a FedEx facility in New York. They continued to discuss logistics regarding
shipping the marijuana and the names to use and agreed to discuss further details regarding a
large load of marijuana.

56. On .luly 7, 2018, at approximately 8:24 AM, the UC received an incoming text from
Malkin’s new cell phone 315-335-7194. “Lets get together and brainstorm l am free to travel
wherever whenever thanks Adam.” This cellular phone was listed by Maikin, aka James May, as
a secondary point of contact on his lease agreement for U-Haui, Storage Unit #1211. The
number was provided as the contact number for “Eric Johnson” in Baitimore, Maryland. Your
affiant reviewed GPS data on Malkin’s Nissan Frontier for the morning of July 7, 2018.
Malkin’s Nissan Frontier made trips from his residence at 1301 Thorn Street, Utica, NY to
Walmart, Access Self Storage, and L&L Self Storage,

57. On July 10, 2018, at 1:27 pm, the UC received an incoming call from Maikin.
Maikin wanted to meet with the UC face to face to discuss “iogistics.” Maikin stated “You want
something consistent. i have a lot of free time. l can travel to you without issue.” Maikin went
on to tell the UC, “l want to provide consistency for you. There is a lot of ways to do it. That’s
why we need to sit down.” Regarding a large load, Maikin wasn’t sure if he could provide a
larger load with a one week turn-around time. l-ie advised “l have to make some phone calls to
see what 1 can arrange” and “what are you gonna need? Are we talking 40-50 like that?” The
UC told Maikin he needed a larger load in approximately one week. Later in the conversation,

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Maikin stated “You need something within two weeks, within one week. i’ll make a phone call.
l want to earn your business. 1 don’t think he is around right now. Let me see what l can arrange
for a week to ten days. i’m gonna make a phone call and see.”

58. On .iuly 18, 2018, your affiant and other members of the DEA, New York State
Police, and US Postal inspection Service executed search warrants at Malkin’s residence, 1301
Thorn Street, Utica, NY and at four storage facilities in the Utica area and on his 2017 Nissan
Frontier pick-up truck. Pursuant to the search of Malkin’s vehicle, agents recovered multiple
drug ledgers detailing cash payments to his Caiifomia sources of supply, storage unit keys, safe
deposit box keys, cell phones, a large sum of United States Currency, two money orders, and a
bank check totaling $7,000. At the residence agents recovered drug ledgers, multiple cell phones,
a digital scale, miscellaneous documents and records, and U.S. Postal labeis.

59. At approximately 12:30 PM, investigator Ryan and inspector Puro issued Maikin his
Miranda Rights which he voluntarily waived and agreed to speak with agents about the ongoing
investigation. Maikin stated that he had been in the marijuana business for 51 years and has
never held a legitimate job. Selling marijuana is all he knows. Maikin stated he has one main
customer in the Utica area, however, they recently had a falling out over a $100,000 drug debt.
According to Maikin he has been supplying his customer with 10 pounds of marijuana a week
every week for 2 to 3 years. Prior to that he was supplying this same customer 3 pounds a week
for 2 years. Maikin stated he intentionally varied his patterns by using different techniques and
common carriers/shipping methods to avoid detection. Maikin admitted to purchasing fake
identification in the name of James May from the dark web.

60. Maikin admitted to posting an acl on Budbay.com 3-5 years ago. l-ie moved to the
Utica area to be closer to his marijuana customer base and started distributing small quantities

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which eventually progressed to ten pound quantities each week. Maikin charged $2,100 per
pound. Bank records show that since January l, 2017, Maikin has had over $650,000 deposited
into accounts he controls. At $2,100 a pound that equates to over 300 pounds of marijuana.
Maikin admitted to leasing multiple storage units and that he had recently been advised by one of
the storage facility employees that Federal law enforcement officers had inquired about him at
their facility. Maikin passed this information on to his main supplier in Caiifomia and to his
customer in Utica. Maikin admitted to cleaning out ali of his storage units after he was told this
information by the storage employee. Maikin admitted to having a storage unit and apartment in
Eureka, Caiifomia. Maikin admitted to mailing 1-2 packages per month during the last year
which contained U.S currency to his source of supply in Caiifomia. 1-1e admitted to obtaining
vape cartridges from Southem Caiifomia and sold the cartridges to a customer in Connecticut,
When investigators specifically questioned Maikin about traveling to New York City in tandem
with another individual, he admitted to traveling there to obtain two suitcases and another
individual transported the suitcases in Malkin’s Nissan Frontier back to lUtica. Maikin and his
customer travelled in tandem in a separate vehicle. Maikin stated that he recently decided to get
out of the marijuana business after losing a significant amount of money and getting tipped off
by the storage unit employee. Maikin stated he placed his customer in touch with the Caiifomia

source of supply and they were dealing directly with each other as far as he knew.

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E. CONCLUSION

61. Based upon the information detailed above and my experience as a Special Agent
with the Drug Enforcement Administration, there is probable cause to believe that Adam Maikin
committed violations of Title 21, United States Code, Sections 84l(a)(l), (b)(l)(B) and 846,

conspiracy to possess with the intent to distribute 100 kilograms or more of marijuana, a

622/57£

AN‘rHoNY R. T, Jr.
Special Agent

Drug Enforceme Administration

Schedule i controlled substance,

Subscribed and sworn to before
me this on this 19th day of July,
2018 at Syracuse, New York

flaw

Hono`i"able Andrew T. Baxter'
United States Magistrate Judge

 

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